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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
KAROLINA RAI et al.,                          )
                                              )
               Plaintiffs,                    )
                                              )
v.                                            )
                                              )       Civil Action No. 21-cv-863-TSC
ANTONY BLINKEN, in his official               )
capacity as U.S. Secretary of State,          )
                                              )
               Defendants.                    )
                                              )


                                              ORDER

        Upon consideration of Defendants’ Motion to Clarify, ECF No. 56, and Plaintiffs’

Response, ECF No. 57, the court clarifies its September 27, 2021 Preliminary Injunction Order,

ECF No. 54, as follows:

     1. Defendants shall begin processing and adjudicating the 966 reserved fiscal year 2021

        diversity visa applications as soon as it is reasonably feasible to do so. Defendants shall

        complete the processing and adjudication of those 966 applications by the end of fiscal

        year 2022.

     2. Defendants shall report their progress via a status report on November 15, 2021 and

        continue reporting every 30-days thereafter until such time as all 966 diversity visa

        applications have been adjudicated.

Date: October 20, 2021

                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge
